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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA, ex rel.                 )
KENNETH CONNER,                                   )
                                                  )      Case No. 11-CV-4458
       Plaintiff,                                 )
                                                  )      Hon. Sharon Johnson Coleman
       v.                                         )
                                                  )
PETHINAIDU VELUCHAMY, et al.,                     )
                                                  )
       Defendants.                                )
                                                  )

                    MOTION TO DETERMINE THE RELATOR’S SHARE OF
                       THE GOVERNMENT’S ALTERNATE REMEDY

       The United States of America (the “Government”), ex rel. Kenneth J. Conner (the

“Plaintiff” or the “Relator”), by and through the Relator’s counsel, hereby files this motion

(the “Motion”) to determine the Relator’s share of any amounts recovered by the

Government in Federal Deposit Insurance Corporation v. Pethinadisu Veluchamy, et al.,

Case No. 11-7590 (N.D. Ill.) (Kendall, J.) (the “FDIC Lawsuit” or the “Alternate

Remedy”) pursuant to 31 U.S.C. §§3730(c)(5), (d)(1). In further support of the Motion,

the Relator states as follows:

       1.      As an incentive to come forward with evidence of fraud against the United

States of America, the False Claims Act (“FCA”) mandates an award of between 15%

and 25% of any amount recovered by the Government when it choses not to intervene

in the action brought by the relator and chooses instead to pursue any alternate

remedy. 11 U.S.C. §§3730(c)(5), (d)(1).

       2.      On June 30, 2011, the Relator filed a complaint on behalf of the

Government pursuant to the FCA (the “Qui Tam Complaint”) in the District Court for the
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Northern District of Illinois. The Qui Tam Complaint disclosed and alleged the fraudulent

conduct of the former directors and officers of Mutual Bank of Harvey, Illinois (the

“Defendants”) that led to its ultimate failure, and to the appointment of the FDIC, as

receiver.

       3.     The Government declined to intervene in this case.

       4.     In ruling on a motion to dismiss filed on behalf of the Defendants, this

Court held that the Relator was an “original source” of the information alleged in the Qui

Tam Complaint.

       5.     On October 25, 2011, after reviewing the Qui Tam Complaint and

interviewing the Relator, the FDIC, an agency of the United States, filed an action in the

District Court of the Northern District of Illinois (the “Alternate Remedy”) naming nearly

all of the same defendants (the “Common Defendants”), but based primarily on a fraud

theory based in negligence, as opposed to a the intentional fraud theory alleged in the

Qui Tam Complaint.

       6.     After the Government filed the Alternate Remedy, the Relator continued to

assist the Government by providing a list of potential witnesses, identifying the relevant

areas those witnesses would have material testimony, providing additional documents

that had been requested by the Government prior to the filing of the Alternate Remedy,

and sitting for two depositions.

       7.     If this Motion is granted and the Government resolves the Alternate

Remedy effectively settling its claims against the Common Defendants, the Relator will

voluntarily dismiss with prejudice the Common Defendants from this case.




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      8.     The Qui Tam Action was filed prior to the Alternate Remedy. The

Government did not intervene in this case and instead pursued the Alternate Remedy.

The Relator was an original source of the information set forth in the Qui Tam

Complaint, and there are no allegations that he participated in the fraudulent scheme

that caused the Government’s loss. Therefore, the FCA mandates that the Relator shall

receive a share of any proceeds from the Alternate Remedy in an amount to be

determined by this Court.

      WHEREFORE, the Relator requests entry of an order (i) determining that the

Relator is entitled to a share of any proceeds from the Alternate Remedy equal to

between 15% and 25% of any such recovery, (ii) awarding the Relator’s reasonable

costs, expenses, and attorneys fees against the defendants named in the Alternate

Remedy, (iii) dismissing the Common Defendants named in this case who are also

named as defendants in the Alternate Remedy, and (iv) granting such other and further

relief as the Court deems appropriate under the circumstances.

                                       UNITED STATES, EX REL KENNETH
                                       CONNER,


                                       By: /s/ Patrick M. Jones
                                              Attorney for Kenneth J. Conner


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                            CERTIFICATE OF SERVICE

     I, Patrick M. Jones, an attorney, certify that on August 4, 2015, the foregoing
document was served on all CM/ECF registrants of record in this action using the
CM/ECF system.

                                             /s/ Patrick M. Jones
                                              Attorney for Kenneth J. Conner


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